Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 1 of 18




                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                      Case No. 23-md-03076-KMM


       IN RE:

       FTX Cryptocurrency Exchange Collapse Litigation


       THIS DOCUMENT RELATES TO:

       Bank Defendants

       O’Keefe v. Sequoia Capital Operations, LLC, et al., S.D. Fla.
       Case No. 1:23-cv-20700

       O’Keefe v. Farmington State Bank d/b/a Moonstone Bank, et
       al., E.D. Wa. Case No. 2:23-cv-00213-TOR


          DEFENDANT MOONSTONE’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
           LEAVE TO FILE AMENDED COMPLAINT AGAINST BANK DEFENDANTS

             Defendant Farmington State Bank d/b/a Moonstone Bank (“Moonstone”) hereby files this

   opposition to Plaintiffs’ Motion and Incorporated Memorandum of Law for Leave to File

   Amended Complaint Against Bank Defendants [ECF 492, the “Motion to Amend”],1 because

   Plaintiffs’ proposed amended complaint, the Amended Administrative Class Action Complaint

   and Demand for Jury Trial Bank Defendants [ECF 492-1, the “PAC”], is futile and smacks of bad

   faith as to Moonstone, and therefore the Court should exercise its discretion to deny leave to amend

   as to Moonstone.




   1
    References herein to ECF docket entry numbers refer to filings in the instant MDL, Case No. 23-
   md-03076-KMM, unless otherwise proceeded by a different case number.

                                                     1
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 2 of 18




          I.      INTRODUCTION

          Plaintiffs’ Motion to Amend and the PAC exhibit more of the same improper tactics that

   Plaintiffs have used to try to disguise the factual and legal futility of their case against Moonstone,

   which rests entirely on defectively-pled speculation and guilt by association:

              Impermissibly using group pleading about “Bank Defendants” or “Defendants” to
               enlarge allegations against Moonstone without a factual basis or good faith justification
               to do so, including misleadingly suggesting that any of the 7000 pages of text messages
               by “Bank Defendants” were made by Moonstone (despite the Declaration of
               Caroline Ellison (“Ms. Ellison”) attached to the PAC revealing the messages were
               between specific representatives of Alameda, Tether, and Deltec—and not Moonstone)
               or gave rise to any new allegations against Moonstone [see PAC, ¶ 10, and Ex. A, ¶¶
               27-28];

              Transparently seeking to use the Federal Reserve’s unrelated enforcement action as
               propensity evidence by mischaracterizing the action as being based on Moonstone’s
               “misrepresentations to the Fed” [Mot. to Amend, at 11] and/or “banking FTX and
               Alameda” [PAC, ¶ 255], when the announcement itself (which the Motion to Amend
               and PAC have neither cited nor attached) shows neither is true;

              Fictitiously implying, while omitting any explanation, that Moonstone’s joining the
               Federal Reserve provided any benefit whatsoever to FTX much less was “a critical
               entry point for FTX to the U.S. banking system” [Mot. to Amend, at 3], which is
               particularly disingenuous considering the fact that Moonstone and its customers
               already had the same “access to the U.S. banking system” prior to becoming a Federal
               Reserve member;

              Refusing to correct their allegation, repeated in the PAC, that Jean Chalopin
               (Mr. Chalopin”) is the CEO and Chairman of Moonstone, despite notice from
               Moonstone that this was false; and

              Continuing to falsely infer that Moonstone made even a single transfer of money from
               or to FTX’s bank deposit, which was turned over in full to the U.S. Government. [See
               DE 262, 8 n.8]. Despite all of the “formal jurisdictional discovery efforts as to Deltec
               and Chalopin, proffer sessions with certain FTX insiders, and other information-
               gathering” [Mot. to Amend, at 10], Plaintiffs still cannot sufficiently allege, but can
               only speculate “under information and belief,” that Moonstone made any transfers at
               all to or from any FTX account. [PAC, ¶ 251.] Their inadequately-pled speculation that
               Moonstone made such transfers is the lynchpin in their narrative that Moonstone knew
               about, and therefore impliedly agreed to and participated in, the FTX fraud.

   Plaintiffs’ PAC as to Moonstone adds no relevant or well-pled basis for relief from Moonstone

   and thus is futile and smacks of bad faith. Accordingly, leave to amend as to Moonstone should be

                                                     2
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 3 of 18




   denied and the Court should rule based on the operative Administrative Complaint [ECF 155] and

   Moonstone’s pending motion to dismiss [ECF 262 (motion to dismiss), ECF 368 (opposition), and

   ECF 392 (reply)].

          II.     RELEVANT FACTUAL AND PROCEDURAL BACKGROUND

          Connor O’Keefe filed a putative class action in the Southern District of Florida against 18

   defendants, including Moonstone, Deltec Bank & Trust Co. Ltd. (“Deltec”), and Mr. Chalopin.

   [Case No. 1:23-cv-20700-KMM, ECF 1 (“Florida Action”).] After Moonstone indicated that it

   would contest personal jurisdiction in Florida, O’Keefe filed an identical suit in July 2023 in the

   Eastern District of Washington. [Case No. 2:23-cv-00213-TOR, ECF 1 (“Washington Action”).]

   After the Florida and Washington Actions were transferred to the MDL, on August 7, 2023,

   Plaintiffs brought suit and added new claims herein in the Administrative Class Action Complaint

   against the “Bank Defendants,” which they defined to include Moonstone, Deltec, and

   Mr. Chalopin. [ECF 155.]

          On September 21, 2023, Moonstone moved to dismiss all claims in the Administrative

   Complaint, including a facial challenge to the Florida Complaint for lack of personal jurisdiction.

   [ECF 262.] The motion to dismiss was fully briefed following Plaintiffs’ opposition and

   Moonstone’s reply [ECF 368, 394], and remains pending. On November 3, 2023, Plaintiffs sought

   leave to take jurisdictional discovery and to file amended pleadings “so Plaintiffs may incorporate

   any additional facts that support personal jurisdiction over these Defendants and address

   arguments raised in all Defendants’ motions to dismiss.” [ECF 348.] The Court allowed

   jurisdictional discovery but denied leave to amend the complaints as premature. [ECF 422.]

          Having already consented to jurisdiction in the Washington Action, and facing extensive

   personal jurisdiction discovery from Plaintiffs, on January 5, 2024, Moonstone dropped its



                                                   3
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 4 of 18




   challenge to personal jurisdiction in Florida [ECF 445], which mooted Plaintiffs’ authority for

   jurisdictional discovery. Plaintiffs proceeded to obtain limited discovery from Deltec and

   Mr. Chalopin, as well as numerous other MDL defendants. On January 30, 2024, Plaintiffs

   deposed Mr. Chalopin in his individual capacity and as a corporate representative of Deltec.

          On February 16, 2024, Plaintiffs filed the instant Motion to Amend [ECF 492], attaching

   the PAC as Exhibit 1 thereto [ECF 492-1]. Plaintiffs’ Motion to Amend explains the amendment

   as to Moonstone based on Plaintiffs’ “discoveries regarding Moonstone’s misconduct since filing

   their original administrative complaint” [Mot. to Amend, at 5]; it does not even mention the

   addition of the RICO Count [see generally id.]. As to Moonstone, the PAC, in paragraph 255, adds

   a single factual allegation about the Federal Reserve’s August 17, 2023 announcement of an

   enforcement action against Moonstone.2 The PAC also adds a RICO conspiracy claim against “All

   Defendants” in Count V, although the count adds no unique factual allegations regarding

   Moonstone at all. Far from “addressing arguments raised in [Moonstone’s] motion to dismiss,” the

   PAC makes no material changes to the allegations against Moonstone—even failing to correct

   scriveners’ errors—except to add inaccurate and irrelevant allegations about the enforcement

   action in one paragraph (¶ 255), is ultimately futile and should be disallowed as to Moonstone.

   [Compare ECF 155, ¶¶ 305-316, with PAC, ¶¶ 245-259.]3




   2
     Plaintiffs raised the same allegation about the enforcement action in their opposition to
   Moonstone’s motion to dismiss [ECF 368, 18-19 and n.120], but because it was not in the
   Administrative Complaint, it was not properly before the Court at that time. On February 6, 2024
   (prior to Plaintiffs’ Motion to Amend), the Federal Reserve publicly announced it terminated the
   enforcement action, as the entity has been wound down and no longer functions as a bank.
   3
     E.g., ECF 155, ¶ 312 (repeating partial sentence); PAC, ¶ 252 (same mistake). The PAC even
   includes footnotes citing to the exact same allegations in Plaintiffs’ original Administrative
   Complaint. [See PAC, at ¶ 256 (citing ECF 155).]

                                                   4
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 5 of 18




          III.    LEGAL STANDARDS FOR AMENDMENT

          When a party moves for leave to amend pleadings, the Federal Rules of Civil Procedure

   generally dictate that it be granted “when justice so requires.” FED. R. CIV. P. 15(a)(2). “A district

   court need not, however, allow an amendment (1) where there has been undue delay, bad faith,

   dilatory motive, or repeated failure to cure deficiencies by amendments previously allowed;

   (2) where allowing amendment would cause undue prejudice to the opposing party; or (3) where

   amendment would be futile.” Corsello v. Lincare, Inc., 428 F.3d 1008, 1014 (11th Cir. 2005)

   (internal quotation marks omitted) (quoting Bryant v. Dupree, 252 F.3d 1161, 1163 (11th Cir.

   2001)); see also Foman v. Davis, 371 U.S. 178, 182 (1962).

          In the Eleventh Circuit, the futility of an amendment to a complaint depends on whether

   the amended complaint would be subject to immediate dismissal, for instance, for failure to state

   a claim. E.g., Cockrell v. Sparks, 510 F.3d 1307, 1310 (11th Cir. 2007) (“Leave to amend a

   complaint is futile when the complaint as amended would still be properly dismissed or be

   immediately subject to summary judgment for the defendant.”); Burger King Corp. v. Weaver, 169

   F.3d 1310, 1320 (11th Cir. 1999) (denial of leave to amend is justified by futility when “complaint

   as amended is still subject to dismissal”). Whether to grant or deny an opportunity to amend is

   within the discretion of the district court. Foman, 371 U.S. at 182; Campbell v. Emory Clinic, 166

   F.3d 1157, 1162 (11th Cir. 1999) (explaining the court has “‘extensive discretion’ to decide

   whether or not to allow a party to amend a complaint”) (citing Hargett v. Valley Fed. Say. Bank,

   60 F.3d 754, 761 (11th Cir. 1995)).

          IV.     AMENDMENT AS TO MOONSTONE SHOULD BE DENIED AS FUTILE

          The Court should find that the amendment would be futile and deny Plaintiffs’ Motion to

   Amend because the amended allegations against Moonstone do not cure the defects in the claims



                                                     5
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 6 of 18




   (Counts I-IV and VI) previously raised in the Administrative Complaint and do not state a claim

   under the new Count V for RICO Conspiracy. See Cockrell, 510 F.3d at 1310 (“Leave to amend a

   complaint is futile when the complaint as amended would still be properly dismissed[.]”). Because

   the allegations against Moonstone are materially identical but for the addition of the Enforcement

   Action and the RICO Conspiracy count, Moonstone incorporates its arguments in its Motion to

   Dismiss, which stands to dispose of Counts I-IV and VI as a matter of law, and focuses this

   opposition on the futility of the proposed additions as to Moonstone.

                   a. Amendments to Include References to the Enforcement Action Are Futile
                      Because They Are Inaccurate, Irrelevant, and Improper.

           As it pertains to Moonstone, there is one “discovery” supposedly “justifying the instant

   request for leave to amend” (Mot. to Amend, at 10): the August 17, 2023 announcement by the

   Federal Reserve Board of an enforcement action against Moonstone, which Plaintiffs baselessly

   twist into allegations that Moonstone “fraudulently obtained” its Federal Reserve membership.

   [PAC, ¶ 255.] The addition of this allegation is not only futile to Plaintiffs’ ability to state a claim,

   it is completely irrelevant and at most amounts to improper propensity evidence.

           Plaintiffs try to mischaracterize the Federal Reserve’s announcement of the Consent Order

   to Cease and Desist, which is attached as Exhibit “1” hereto (the “Cease-and-Desist”). Plaintiffs’

   Motion to Amend boldly claims, without citation or attribution, their investigation uncovered that

   “Defendant Moonstone’s membership into the Federal Reserve, a critical entry point for FTX to

   the U.S. banking system, was obtained by way of deceit and for FTX’s benefit.” [Mot. to Amend,

   at 3 (emphasis added).] It goes on to claim that the Federal Reserve Board “announced its

   enforcement action related to Farmington’s misrepresentations to the Fed regarding its business

   plan in its application for membership in the Fed.” [Id. at 11.] In support, Plaintiffs cite (but do not




                                                      6
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 7 of 18




   attach) an online article from Cointelegraph, rather than the Federal Reserve Board’s publicly-

   available Cease-and-Desist (linked in the article).

            Plaintiffs’ addition is improper and futile for several reasons.

            First, it is inaccurate. Had Plaintiffs attached the Cease-and-Desist, the Court would see

   that the Federal Reserve Board makes no allegations or findings that Moonstone “misrepresented”

   or misled the Fed. [See generally Ex 1.] It instead finds that “Farmington violated the Bank

   Commitments by engaging in activities which changed the Bank’s business plan and general

   character without receiving prior written approval from the Board of Governors, the Reserve

   Bank, or the WSDFI.” [Ex 1, p. 3 (emphasis added).] Moonstone’s failure to receive prior written

   approval is a far cry from applying for membership under false pretenses, which is how Plaintiffs

   exaggerate and misrepresent it in the PAC. [See PAC, ¶ 255 (alleging Moonstone applied to the

   Federal Reserve with the intent, and without informing the Fed, to provide digital banking services

   to FTX and Alameda); id. at ¶ 256 (referring to Moonstone’s membership in the Federal Reserve

   as “fraudulently obtained”)].4

            Second, Plaintiffs again mischaracterize the Cease-and-Desist by inventing its relevance

   to the FTX fraud. It does not mention FTX or Alameda or give rise to any reasonable inference


   4
       The PAC expressly (though inaccurately) alleges:
        255. On August 17, 2023, the Federal Reserve announced an enforcement action against
   Moonstone, because, upon information and belief, at Chalopin’s direction, Moonstone did
   not inform the Federal Reserve, in applying for membership, that Moonstone intended “to
   pursue a strategy focused on digital banking services or digital assets” (i.e., banking FTX
   and Alameda), and Moonstone “improperly chang[ed] its business plan” to provide such services
   (i.e., to FTX and Alameda) without prior notification or approval from the Federal Reserve.
       256. With access to the U.S. banking system by way of Moonstone’s membership in the
   Federal Reserve fraudulently obtained, FTX quickly began to route the fraud through it,
   depositing $50 million in customer assets, including Class Member funds, across two accounts at
   the bank. …
   [Id. at ¶¶ 255-56 (emphasis added).]

                                                      7
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 8 of 18




   that the Bank’s conduct was furthering or aiding the FTX fraud in any way.5 Plaintiffs simply jump

   to the conclusion that “Defendant Moonstone’s membership into the Federal Reserve, a critical

   entry point for FTX to the U.S. banking system, was obtained by way of deceit and for FTX’s

   benefit.” [Mot. to Amend, at 3 (emphasis added).]

          In fact, FTX’s supposed benefit from Moonstone’s membership in the Federal Reserve is

   a red herring and must be disregarded, not taken as true under Rule 12(b)(6). Plaintiffs’ repeatedly

   attempt to impart Moonstone’s joining the Federal Reserve as a benefit to FTX by suggesting that

   it was “a critical entry point for FTX to the U.S. banking system” [Mot. to Amend, at 3] and was

   necessary “such that FTX Group could access the U.S. banking system.” [PAC, ¶¶ 137; see also

   id. at 9, 254, 256, 259, 280).] Plaintiffs never explain how or why, because they cannot.

          The fact is—as the Cease-and-Desist evidences—the Federal Reserve approved

   Moonstone’s application to become a member of the Federal Reserve System on June 17, 2021,

   which is (1) before August 2021, when Plaintiffs allege that Mr. Chalopin and Dan Friedberg

   “began to discuss Alameda’s potential investment in Moonstone,” and (2) before January 2022,

   when Plaintiffs allege that Alameda invested in Moonstone’s holding company. [Compare Ex. 1,

   at 3, with PAC, ¶¶ 245, 247.] Furthermore, Moonstone was already part of the U.S. banking system

   before joining the Federal Reserve, though it was being regulated by the Federal Deposit Insurance

   Commission (“F.D.I.C.”), under the same federal regulations, when it applied (on or about April




   5
     The online article cited by Plaintiffs also makes no allegations that Moonstone made
   misrepresentations to regulators and even states that “[n]either the Fed enforcement action nor the
   move to leave the space explicitly mentioned crypto exchange FTX.” Turner Wright, “Federal
   Reserve issues enforcement action against FTX-linked US bank,” Countelegraph.com (last
   accessed Feb. 28, 2024), https://cointelegraph.com/news/federal-reserve-issues-enforcement-
   actionagainst-ftx-linked-bank.

                                                    8
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 9 of 18




   16, 2021) to join the Federal Reserve.6 Accordingly, before or after joining the Federal Reserve,

   Moonstone’s customers had the same “access to the U.S. banking system” that they did before

   Alameda made its investment in Moonstone’s bank holding company. For all their insinuations,

   Plaintiffs have not explained and cannot explain how or why joining the Federal Reserve provided

   any benefit whatsoever to any Moonstone customer, including FTX. In fact, even the PAC asserts

   Moonstone was FTX’s “third point of entry to the US Banking system.” [PAC, ¶ 254 (emphasis

   added).] Plaintiffs’ innuendo provides no well-pled basis to infer that the “acts” of applying to and

   joining the Federal Reserve, which are certainly are not wrongful per se, were either substantial

   assistance to or furthered the enterprise of any FTX fraud, which likewise renders the PAC’s

   additions irrelevant and futile.

          Third, the allegations are subject to striking as immaterial or exclusion as character

   evidence. Plaintiffs would have this Court believe the additional allegation in the PAC has bearing

   because it “shows Moonstone’s willingness to engage in wrongful (and atypical) conduct in order

   to assist the FTX fraud.” [Id. at 11 (emphasis added)]. In other words, Plaintiffs believe they can

   use this allegation to imply Moonstone’s character or propensity for wrongdoing—not factual

   evidence of Moonstone’s actual or reasonable inferred knowledge or participation in the FTX

   fraud. But see Sepulveda v. City of Doral, No. 1:21-CV-23267-KMM, 2022 WL 19406445, at *2

   (S.D. Fla. Aug. 29, 2022) (citation omitted) (“Rule 404 recognizes that evidence of bad acts, when

   offered to prove that a person acted in accordance with his character, ‘is of slight probative value

   and may be very prejudicial’ in that it allows ‘the trier of fact to reward the good man and to punish



   6
    While it was still a state-chartered bank (it is no longer), Moonstone was at all times regulated
   by the State of Washington and the Federal Government—first by the F.D.I.C., then as of June
   2021, by the Federal Reserve Board. Banks can be governed by either the F.D.I.C. or the Federal
   Reserve Board, which provide the same access to the U.S. banking system available to customers.

                                                     9
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 10 of 18




    the bad man because of their respective characters despite what the evidence in the case shows

    actually happened.’”). This is further grounds to reject this amendment as futile.

                   b. Group Pleading for “Bank Defendants” Is Improper.

           It is Plaintiffs, not Bank Defendants, that have “done their best to elide Plaintiffs’

    allegations” so as to eliminate the material distinctions between Moonstone, Deltec, and Chalopin.

    Despite formal and informal discovery and assistance from FTX Insiders, Plaintiffs can

    substantiate no link between Moonstone and Deltec other than the fact that Mr. Chalopin owns

    interests in both banks’ (separate) holding companies. [See PAC, ¶ 307.] This has not deterred

    Plaintiffs from lumping Moonstone, Deltec, and Mr. Chalopin together—even seemingly calling

    them “the primary bank for the RICO enterprise”—when there are allegations and/or evidence to

    the contrary.7 [PAC, ¶ 302 (emphasis added).]

           For example, Plaintiffs’ Motion to Amend boasts of the “approximately 7000 pages of

    direct text messages between Bank Defendants, FTX, and Alameda Research, LLC,” which they

    use to bolster the introduction to the PAC. [Mot. to Amend, at 2 (emphasis added); PAC, ¶ 10.]

    But Plaintiffs’ PAC fails to mention that Ms. Ellison, who produced those messages, attests the

    messages were between “representatives from Alameda, Tether, and Deltec”—with no mention

    of Moonstone. [PAC, Ex. A, ¶¶ 27-28.] Further, their Motion to Amend concedes that those

    messages do not give rise to any additional factual allegations in the PAC against Moonstone.

    [Mot. to Amend, at 8-9.] Similarly, Plaintiffs’ PAC broadly accuses “Bank Defendants” of

    “providing a suite of non-routine, high risk banking services to FTX Group” including “expediting



    7
      Plaintiffs continue to assert that Mr. Chalopin is CEO and Chairman of Moonstone without any
    factual basis and despite notice from Moonstone’s filings [see ECF 262, at 2 n.4; ECF 394, 2 n.7]
    and evidence known to the Plaintiffs to the contrary. In fact, the March 2022 press release Plaintiffs
    quote in paragraph 245 expressly names Ronald Oliveira as Moonstone’s CEO. [PAC, ¶ 245.]

                                                     10
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 11 of 18




    the transfer of FTX customer funds to Alameda at the expense of other banking customers and

    FTX customers; brokering a covert manipulation scheme between Tether Limited and Alameda;

    and extending a de facto line of credit to Alameda that at times exceeded 2 billion U.S. dollars.”

    [PAC, ¶ 9 (emphasis in original).] They extend these allegations to Moonstone even though the

    PAC later makes those specific accusations as to Deltec only, and not Moonstone. [Cf. id. at ¶ 133.]

           It is hardly surprising that Plaintiffs are quick to lump Moonstone in with the other “Bank

    Defendants,” “MDL Defendants,” and “Defendants” generally even when it makes no sense (as

    discussed infra). When all Plaintiffs have to hold Moonstone jointly liable for the FTX fraud comes

    down to (1) selling a small interest in the bank’s holding company to Alameda, (2) joining the

    Federal Reserve, and (3) being custodian to an FTX deposit that never left Moonstone, they need

    to rely on guilt by association. This tactic of group pleadings is nevertheless impermissible, even

    under Rule 8(a). See Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570, 127 S. Ct. 1955, 1974, 167 L.

    Ed. 2d 929 (2007) (“Because the plaintiffs here have not nudged their claims across the line from

    conceivable to plausible, their complaint must be dismissed.”). Accordingly, the proposed

    amendment as to the Federal Reserve enforcement action would be futile.

                   c. Count V Fails to State a Claim Against Moonstone Under Rule 8(a).

                           i. Failure to Sufficiently Allege Moonstone’s Agreement

           In the PAC, Plaintiffs attempt to newly assert a RICO conspiracy claim under Section

    1962(d) against “All Defendants,” but fail to properly allege this claim against Moonstone.8 [See

    PAC, ¶¶ 297-312.] Section 1962(d) makes it “unlawful for any person to conspire to violate any

    of the provisions of subsection (a), (b), or (c) of [Section 1962].” 18 U.S.C. § 1962(d).


    8
     For purposes of this opposition, Moonstone takes no position as to the sufficiency of Plaintiffs’
    PAC as to the underlying RICO violation or the conspiracy allegations against any other MDL
    Defendant, but does not intend to waive such arguments if the Court permits the amendment.

                                                    11
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 12 of 18




    “The essence of a RICO conspiracy claim is that each defendant has agreed to participate in the

    conduct of an enterprise’s illegal activities.” Solomon v. Blue Cross & Blue Shield Ass’n, 574 F.

    Supp. 2d 1288, 1291 (S.D. Fla. 2008) (citing 18 U.S.C. § 1962(d)) (emphasis in original). “[P]roof

    of the agreement is at the heart of a conspiracy claim.” Id. (quoting In re Managed Care Litig.,

    430 F. Supp. 2d 1336, 1345 (S.D. Fla. 2006)). “To be guilty of conspiracy ... parties must have

    agreed to commit an act that is itself illegal.” Id. (quoting United States v. Vaghela, 169 F.3d 729,

    732 (11th Cir. 1999)); In re Takata Airbag Prod. Liab. Litig., 396 F. Supp. 3d 1101, 1166 (S.D.

    Fla. 2019).

           A plaintiff can state a RICO conspiracy claim by showing the defendants: (1) agreed to the

    overall objective of the conspiracy; or (2) agreed to commit two predicate acts. Am. Dental Ass’n

    v. Cigna Corp., 605 F.3d 1283, 1293 (11th Cir. 2010) (quoting Republic of Panama v. BCCI

    Holdings (Luxembourg) S.A., 119 F.3d 935, 950 (11th Cir. 1997)). A RICO agreement may be

    established by either direct evidence or it may be inferred from the conduct of the participants. Id.

    However, the circumstantial evidence must demonstrate “that each defendant necessarily must

    have known that the others were also conspiring to participate in the same enterprise through a

    pattern of racketeering activity.” United States v. Browne, 505 F.3d 1229, 1264 (11th Cir. 2007).

    For a conspiracy to violate § 1962(c), as Plaintiffs have asserted here [PAC, ¶ 298], “a plaintiff

    must demonstrate that a defendant ‘objectively manifested, through words or actions, an agreement

    to participate in the conduct of the affairs of the enterprise’ through a pattern of racketeering

    activity.” Liquidation Com’n of Banco Intercontinental, S.A. v. Renta, 530 F.3d 1339, 1353 (11th

    Cir. 2008) (quoting United States v. Starrett, 55 F.3d 1525, 1543 (11th Cir. 1995)).

           Courts in the Southern District of Florida have not hesitated to dismiss RICO Conspiracy

    claims where the factual basis for the alleged agreement is not properly pled under Rule 8(a). See,



                                                     12
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 13 of 18




    e.g., In re Takata, 396 F. Supp. 3d at 1166 (dismissing RICO conspiracy claim because plaintiffs’

    allegations of defendants’ relationships “beyond simple information sharing,” their “decid[ing]

    together to forego key performance requirements,” and “work[ing] together” to minimize the

    airbag recall “still fail[ed] to plausibly allege [defendants] entered into an agreement with Takata

    to commit wire or mail fraud”) (emphasis in original); Pupke v. McCabe, No. 13-80860-CIV, 2014

    WL 12621479, at *2-*3 (S.D. Fla. Jan. 30, 2014) (dismissing RICO conspiracy count where the

    complaint “does not allege the specifics of the alleged agreement between Old Republic and any

    other party to commit the RICO violations[,] … does not identify the persons alleged to have

    entered into the alleged agreement, … does not provide the dates of when the agreement was

    entered into, and … does not set forth the terms of the agreement”); Solomon, 574 F. Supp. 2d at

    1291-92 (finding “all of Plaintiffs’ allegations regarding the agreement to conspire to commit mail

    and wire fraud [were] conclusory” where complaint described the entities who agreed and the

    substance of the agreement but “contain[ed] no other allegations about who made the agreement,

    when the agreement was made, or how the Defendants made the agreement”). While there is

    conflicting authority in the Eleventh Circuit as to whether a RICO conspiracy claim must satisfy

    the pleading standards of Rule 8(a) or Rule 9(b),9 the foregoing cases demonstrate that even Rule

    8(a)’s plausibility standards require well-pled details supporting when and how a defendant

    entered into the agreement to commit substantive RICO violations.

           Here, Plaintiffs’ PAC is futile because it fails to properly allege the factual basis for any

    “meeting of the minds” in which Moonstone supposedly agreed either to the overall objective of

    the conspiracy or to commit two predicate acts. See Am. Dental Ass’n, 605 F.3d at 1293. Plaintiffs’



    9
     See Gov’t Emps. Ins. Co. v. Landau & Assocs., P.A., No. 817CV02848EAKTGW, 2019 WL
    12493609, at *6 (M.D. Fla. Mar. 29, 2019) (collecting Eleventh Circuit cases).

                                                    13
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 14 of 18




    allegations of Moonstone’s involvement in the alleged RICO conspiracy are nothing more than

    unwarranted deductions of fact and legal conclusions that are insufficient and implausible under

    Twombly and Iqbal. See Ashcroft v. Iqbal, 556 U.S. 662, 678, (2009) (“[W]here the well-pleaded

    facts do not permit the court to infer more than the mere possibility of misconduct, the complaint

    has alleged—but it has not ‘show[n]’—’that the pleader is entitled to relief.’” (quoting Fed. R.

    Civ. P. 8(a))); Twombly, 550 U.S. at 564 (“Although in form a few stray statements speak directly

    of agreement, on fair reading these are merely legal conclusions ….”); see also Aldana v. Del

    Monte Fresh Produce N.A., Inc., 416 F.3d 1242, 1248 (11th Cir. 2005) (on a Rule 12(b)(6) motion

    to dismiss, the court does not accept as true unwarranted deductions of fact).

              The allegations about Moonstone are insufficient to enable the Court to draw any inference,

    much less a reasonable one, of a RICO agreement between Moonstone and any other MDL

    Defendant. Presumably (it is presumed since Plaintiffs fail to mention anything about their RICO

    claim in the Motion to Amend), Plaintiffs are relying on inferences about Moonstone’s conduct

    from allegations they have incorporated into Count V,10 which amount to the following:

    (1) Moonstone took in a $50 million deposit from FTX, though Plaintiffs have not plausibly

    alleged any transfers out of Moonstone from this deposit; (2) Moonstone provided “access to the

    U.S. banking system” by joining the Federal Reserve, though this is a red herring as described

    above; and (3) Moonstone supposedly violated “know your customer” and anti-money laundering

    laws, though the PAC does not plausibly allege those applicable were violated here, nor does it

    allege how such violations are relevant to the so-called RICO conspiracy. This, with no details on

    who, when, or how Moonstone may have agreed to an otherwise illegal act under RICO, is simply




    10
         Count V incorporates the “paragraphs preceding Count I,” not Counts I-IV or VI. [PAC, ¶ 297.]

                                                      14
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 15 of 18




    not a sufficient factual basis to show or infer that Moonstone agreed to a RICO conspiracy. See In

    re Takata, 396 F. Supp. 3d at 1166; Solomon, 574 F. Supp. 2d at 1291-92.

             The allegations comprising the new Count V itself, which primarily consist of blanket

    references to “Defendants,” are likewise insufficient to enable the Court to draw even a reasonable

    inference of a RICO agreement between Moonstone and any other MDL Defendant. Specifically,

    even if the Court is to assume that references in Count V to “Defendants” includes Moonstone

    (despite vague and ambiguous allegations about the undefined “Defendants” inconsistent with the

    PAC’s prior allegations about Moonstone11), the PAC at most alleges:

            In paragraph 298, a conclusory assertion that “Defendants agreed and conspired”;

            In paragraph 302, the unwarranted allegation that “Defendants12 served as the primary bank
             for the RICO enterprise, assisting in the structure of the enterprise operations and the flow
             of FTX customer funds from FTX Trading Ltd. and FTX US to Alameda,” which is not
             well-pled against Moonstone, as Plaintiffs have not sufficiently alleged that Moonstone
             acted in connection with or engaged in any transfer with Deltec or that there was even a
             single transfer of funds from the FTX deposit at the bank;

            In paragraph 307, the unwarranted conclusion that “Defendants . . . agree[d] to provide and
             provid[ed] banking services to Alameda, FTX US and FTX Trading Ltd., including
             executing wire transfers and other transactions of FTX customer funds into and out of FTX
             Group accounts, and officers of the FTX entities,” which is not plausible as to Moonstone,
             as it is not otherwise sufficiently alleged to have provided banking services to Alameda or
             to have engaged in any transfers from the FTX deposit at the bank;



    11
       Paragraphs 307 and 310 of the PAC inexplicably refer to the scope of “Defendants’
    employment” with FTX and in furtherance of the “firm’s business,” where there is no allegation
    that Moonstone was “employed” by FTX or indication as to what company “firm” refers.
    The references to “Defendants” in Count V also repeatedly use the singular (e.g., “primary bank,”
    “its words and conduct,” “Defendant participated”). These inconsistencies further undermine any
    assumption that each reference to “Defendants” necessarily includes Moonstone. See Barmapov
    v. Amuial, 2018 WL 11267365, *5 (S.D. Fla. Dec. 12, 2018) (nixing RICO conspiracy claim)
    (quoting Naftali v. Capasso, 2015 WL 4483995, at *4 (S.D. Fla. July 22, 2015) (“When a
    complaint indiscriminately lumps all defendants together it fails to comply with Rule 8.”)).
    12
      Plaintiffs’ recasting of two separate banks as a single “primary bank” confirms their intention to
    conflate Moonstone with Deltec and obfuscate the facts. [Cf. PAC, ¶¶ 133, 136 (alleging Deltec,
    not Moonstone, provided “one-of-a-kind” banking services FTX could not find in other banks)].

                                                      15
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 16 of 18




            In paragraph 307, the irrelevant assertion that “in exchange for Defendants’ [banking
             services], FTX Group … invested more than $11 million in the holding company for
             Moonstone, which Mr. Chalopin owns,” which says nothing about what Moonstone
             supposedly did or agreed to;13

            In paragraph 308, a conclusory allegation that “Defendants had the specific intent to
             participate in the overall RICO enterprise”;

            In paragraph 309, an unwarranted deduction from insufficiently pled facts that “Defendants
             agreed, at least impliedly, with Salame, Ellison, Friedberg and/or one or more of his co-
             conspirators to commit overt acts in furtherance of these activities, including (1) violating
             anti-money laundering laws and other banking regulations (all Defendants); (2) siphoning
             FTX customer funds into Alameda’s bank accounts (all Defendants),” where the PAC has
             not adequately pled that Moonstone violated any banking laws or regulations, knew that
             the funds comprising the FTX deposit at the bank were “customer funds,” or made any
             transfers whatsoever from the FTX deposit, including to Alameda’s bank accounts;

            In paragraph 310, vague and conclusory assertions about “Defendants’ knowledge” and
             participation in a fraudulent scheme “committed within the scope of the Defendants’
             employment with FTX and in furtherance of the firm’s business,” which is also nonsensical
             as there is no allegation that Moonstone was a FTX employee or agent; and

            In paragraph 311, a conclusory allegation that “the Defendants formed an illegal agreement
             to violate the substantive provisions of the RICO statute set forth above [§ 1962(c)] and
             thus are jointly and severally liable for the acts of their co-conspirators[.]”

    [PAC, ¶¶ 297-312 (Count V).]

             In sum, these unwarranted deductions and legal conclusions about “Defendants” are not

    plausibly drawn from the scant factual allegations about Moonstone, which do not give rise to a

    reasonable inference of it agreeing to violate RICO in furtherance of defrauding FTX customers.

    The few factual allegations pertaining to Moonstone fail to suggest any agreement or “meeting of




    13
      Moonstone disputes that Alameda’s January 2022 investment in its holding company was some
    kind of “price” for providing bank deposit services to FTX months later, but in any event, it would
    be irrelevant to the existence of an agreement from Moonstone. See United States v. Starrett, 55
    F.3d 1525, 1552 (11th Cir. 1995) (“The focus of the RICO conspiracy statute is not on why the
    defendant associates with the enterprise, but on what he does, or agrees to do, while associated
    with it. . . . The RICO conspiracy statute does not apply until the defendant manifests his agreement
    to participate in the conduct of the enterprise’s affairs through a pattern of racketeering activity,
    regardless of his purpose for associating with the enterprise.”).

                                                      16
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 17 of 18




    the minds” to commit an otherwise illegal act, or, in the words of the Eleventh Circuit, do not show

    that Moonstone “necessarily must have known that the others were also conspiring to participate

    in the same enterprise through a pattern of racketeering activity.” Browne, 505 F.3d at 1264.

           Because Plaintiffs have not sufficiently and plausibly pled a RICO agreement by

    Moonstone, Plaintiffs fail to state a cognizable claim against Moonstone as a matter of law.

    Accordingly, the Motion to Amend must be denied as futile as to the inclusion of Moonstone.

                   d. The PAC Does Not Materially Change Any Other Factual Allegations
                      About Moonstone and Therefore Does Not Cure the Defects as to
                      Plaintiffs’ Regurgitated Claims for Aiding and Abetting Fraud, Breach of
                      Fiduciary Duty, or Conversion, Common Law Conspiracy or Unjust
                      Enrichment.

           As detailed in Moonstone’s pending motion to dismiss, Plaintiffs’ claims in the original

    Administrative Complaint (which remain pending and operative should the Court deny Plaintiffs

    leave to amend) are subject to dismissal under FRCP 12(b)(6). [ECF 262.] While Moonstone will

    not rehash here each defective aspect therein, Plaintiffs’ PAC makes no attempt to cure the defects

    therein. This is readily apparent from the fact that Plaintiffs make no meaningful modification or

    factual supplementation regarding Moonstone in the PAC, beyond adding the irrelevant allegation

    regarding the Fed’s enforcement action. In fact, Plaintiffs have barely changed any allegation about

    Moonstone. Hence, even if Plaintiffs were allowed to file their PAC, Plaintiffs’ claims against

    Moonstone would continue to suffer from the same defects already identified in the motion to

    dismiss brought by Moonstone. Plaintiffs’ Motion to Amend should therefore be denied as futile.

    See Cockrell, 510 F.3d at 1310; Burger King Corp., 169 F.3d at 1320.

           V.      CONCLUSION

           The amendments as to Moonstone as proposed by the PAC would be futile, thus Plaintiffs’

    Motion to Amend should be denied and Plaintiffs’ PAC disallowed as to Moonstone.



                                                    17
Case 1:23-md-03076-KMM Document 510 Entered on FLSD Docket 03/01/2024 Page 18 of 18




    Date: March 1, 2024                                   /s/ Marisa R. Dorough
                                                          Ty Kelly Cronin (Pro hac vice)
                                                          Frank C. Bonaventure, Jr. (Pro hac vice)
                                                          BAKER, DONELSON, BEARMAN,
                                                          CALDWELL & BERKOWITZ, P.C.
                                                          100 Light Street, 19th Floor
                                                          Baltimore, Maryland 21202
                                                          Phone: (410) 862-1049
                                                          tykelly@bakerdonelson.com
                                                          fbonaventure@bakerdonelson.com

                                                            -and-

                                                          Marisa Rosen Dorough, Esq.
                                                          Florida Bar No. 73152
                                                          BAKER, DONELSON, BEARMAN,
                                                          CALDWELL & BERKOWITZ, P.C.
                                                          200 South Orange Avenue, Suite 2900
                                                          Orlando, Florida 32801
                                                          Phone: (407) 422-6600
                                                          mdorough@bakerdonelson.com

                                                          Counsel for Defendant Farmington State
                                                          Bank d/b/a Moonstone Bank.


                                     CERTIFICATE OF SERVICE

            I hereby certify that on March 1, 2024, the foregoing was electronically filed with the Clerk

    of the Court through the CM/ECF system, which will send a notice of electronic filing to counsel

    for all parties of record.

                                                          /s/ Marisa R. Dorough
                                                          Marisa Rosen Dorough




                                                     18
